57 F.3d 1066NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Alok KUMAR, Plaintiff-Appellant,v.Roy S. NUTTER, Jr.;  West Virginia University, Defendants-Appellees.
    No. 94-2420.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 13, 1995.
    
      Alok Kumar, Appellant Pro Se.  Richard Michael Yurko, Jr., Amy Marie Smith, Steptoe &amp; Johnson, Clarksburg, WV, for Appellees.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his Title VII, 42 U.S.C.A. Sec. 2000e (West 1981 &amp; Supp.1994), complaint under Fed.R.Civ.P. 12(b)(6).  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Kumar v. Nutter, No. CA-94-86 (N.D.W. Va.  Oct. 26, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    